                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION


LEIDY TATIANA CARVAJAL        ) C.A. NO.: ______________
                              )
ARCHULETA, individually, and in her
                              )
capacity as Administratrix of the Estate of
                              )
SEAN ARCHULETA, and as next friend
                              )
of minors JA and VS,          )
                              )
           Plaintiff,         )
                              )
      vs.                     )
ATLAS AIR WORLDWIDE HOLDINGS, )
INC., ATLAS AIR, INC.,        )
AMAZON.COM, INC., and AMAZON  )
                              )
FULFILLMENT SERVICES, INC.    )
                              )
                 Defendants




                      PLAINTIFF’S ORIGINAL COMPLAINT

       COMES NOW Plaintiff LEIDY TATIANA CARVAJAL ARCHULETA,

individually and in her capacity as Administratrix of the Estate of SEAN ARCHULETA,

and as next friend of minors JA and VS, by and through undersigned counsel and for this

cause of action files this Complaint against Defendants ATLAS AIR WORLDWIDE

HOLDINGS, INC., ATLAS AIR, INC., AMAZON.COM, INC., and AMAZON

FULFILLMENT SERVICES, INC., (collectively “Defendants”), all United States

corporations, and for cause of action, would respectfully show unto this Honorable Court

the following:
                         I. NATURE OF THE CAUSE OF ACTION

      1.1    This is an action for damages on behalf of the Plaintiff for the death of Sean

Archuleta and other damages suffered during the crash of Atlas Air Flight 3591, at Trinity

Bay, Texas on February 23, 2019.

                                      II. PARTIES

      2.1    Plaintiff Leidy Tatiana Carvajal Archuleta, is the wife of the Sean Archuleta.

They were married on May 8, 2018, in Harris County, Texas. Leidy Tatiana Carvajal

Archuleta is the mother of the minor children JA and VS. The Decedent, Sean Archuleta,

was the father of JA and the step-father of VS. The minor child VS resided with her mother

and Sean Archuleta, with Sean Archuleta providing more than fifty percent of VS’s

support.

      2.2    Plaintiff Leidy Tatiana Carvajal Archuleta’s Application for Letters of

Administration concerning the Estate of Sean Andrew Archuleta, is pending in the County

Probate Court No. 1 of Harris County, Texas.

      2.3    At all times material hereto, Defendant ATLAS AIR WORLDWIDE

HOLDINGS, INC., is a Delaware corporation with its principal place of business in

Purchase, New York, where it is a citizen and resident. ATLAS AIR WORLDWIDE

HOLDINGS, INC. has engaged in substantial and not isolated activity within the State of

Texas, and this District, including but not limited to the maintenance and operation of its

aircraft and the operation of passenger and cargo flights to and from George Bush

Intercontinental Airport, Houston, Texas. Although this Defendant does business in the

State of Texas for the purpose of accumulating monetary profit, it does not maintain a


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regular place of business nor a designated agent for service of process in the State of Texas.

For these reasons, long-arm service of process is to be upon the Texas Secretary of State

pursuant to Tex.Civ.Prac. & Rem. Code §17.044. This suit arises out of business contacts

in the State of Texas and, under the circumstances, ATLAS AIR WORLDWIDE

HOLDINGS, INC. has appointed the Texas Secretary of State, 1019 Brazos Street, Austin,

Texas 78701, as its agent upon whom service of process may be had in this action. The

Texas Secretary of State is requested to forward a copy of this Complaint, along with

Citation, by certified mail, return receipt requested, to Defendant, ATLAS AIR

WORLDWIDE HOLDINGS, INC. at its home office 2000 Westchester Avenue, Purchase,

New York, 10577.

       2.4    At all times material hereto, Defendant ATLAS AIR, INC., is a corporation

organized and existing under the laws of Delaware with its principal place of business in

Purchase, New York. It is a wholly owned subsidiary of ATLAS AIR WORLDWIDE

HOLDINGS, INC.        This Defendant may be served by serving its registered agent: CT

Corporation System, 1999 Bryan St., Ste. 900, Dallas, TX 75201-3136.

       2.5    Defendant ATLAS AIR, INC. is engaged in the business of air transportation

of passengers and cargo for hire.

       2.6    Defendant, ATLAS AIR WORLDWIDE HOLDINGS, INC., is the parent

corporation of, and exercised control over, its wholly-owned subsidiary, defendant ATLAS

AIR, INC.

       2.7    Defendant AMAZON.COM, INC., is a Delaware corporation with its

principal place of business in Seattle, Washington, where it is a citizen and resident.


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AMAZON.COM, INC. has engaged in substantial and not isolated activity within the State

of Texas, and this District, including but not limited to, the delivery of cargo, transported

by aircraft into and out of Texas and specifically, George Bush Intercontinental Airport,

Houston, Texas. Although this Defendant does business in the State of Texas for the

purpose of accumulating monetary profit, it does not maintain a regular place of business

nor a designated agent for service of process in the State of Texas. For these reasons, long-

arm service of process is to be upon the Texas Secretary of State pursuant to Tex.Civ.Prac.

& Rem. Code §17.044. This suit arises out of business contacts in the State of Texas and,

under the circumstances, AMAZON.COM, INC. has appointed the Texas Secretary of

State, 1019 Brazos Street, Austin, Texas 78701, as its agent upon whom service of process

may be had in this action. The Texas Secretary of State is requested to forward a copy of

this Complaint, along with Citation, by certified mail, return receipt requested, to

Defendant, AMAZON.COM, INC. at its home office 410 Terry Ave. N, Seattle, WA,

98109-5210.

       2.8    Defendant, AMAZON FULFILLMENT SERVICES, INC., is a Delaware

corporation with its principal place of business in Seattle, Washington, where it is a citizen

and resident. AMAZON FULFILLMENT SERVICES, INC., has engaged in substantial

and not isolated activity within the State of Texas, and this District, including but not

limited to the delivery of cargo, transported by aircraft into and out of Texas and

specifically, George Bush Intercontinental Airport, Houston, Texas. This Defendant may

be served by serving its registered agent: Corporation Service Company dba CSC –




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Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, TX 78701-

3218.

         2.9    Sean Archuleta was passenger on Atlas Air flight 3591 flight from Miami,

Florida to Houston, Texas on February 23, 2019. The aircraft was a Boeing 767-375BCF,

tail number N1217A.

         2.10   The jet, carrying cargo and one passenger, Sean Archuleta, crashed into

Trinity Bay, Texas, while on approach to George Bush Intercontinental Airport in Houston,

Texas.

         2.11   Sean Archuleta, Plaintiff’s husband, was killed in the crash.

                            III. JURISDICTION AND VENUE

         3.1    This is an action for damages substantially in excess of Seventy-Five

Thousand Dollars ($75,000.00), exclusive of interest, costs, and attorney’s fees.

         3.2    Jurisdiction exists over this action against Defendants under 28 U.S.C. §§

1331 and 1332.

         3.3    Jurisdiction is proper in this Court because the accident that claimed the life

of Sean Archuleta occurred in this District.

         3.4    Venue is proper in the Southern District of Texas under 28 U.S.C. § 1391

because Defendants conduct significant business in this District and the accident occurred

in this District.




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                     IV. FACTS GIVING RISE TO CAUSE OF ACTION

        4.1    In May 2016, the Defendants entered into agreements with each other to

operate up to twenty Boeing 767-300 aircraft. These operations included the delivery of

cargo throughout the United States.

        4.2    One of the aircraft that was subject to the agreement among the Defendants

was Boeing 767-375BCF, tail number N1217A.

        4.3    On February 23, 2019, N1217A was being operated by the Defendants on a

flight from Miami, Florida to Houston, Texas. The flight was operated as Atlas Air Flight

3591.

        4.4    On February, 23, 2019, at 12:30 (CST) p.m. the pilots of Atlas Air Flight

3591, contacted Houston terminal radar approach control and reported they were

descending for runway 26L at George Bush Intercontinental Airport. At that time the

airplane was at 17,800 feet with a ground speed of 320 knots.

        4.5    At 12:34 (CST) p.m., the airplane was descending through 13,800 feet and

the pilots were advised by air traffic control of an area of light to heavy precipitation along

the flight route.

        4.6    One minute later the pilots reported they were in receipt of the Houston

Automatic Terminal Information System weather broadcast. The air traffic controller

informed the pilots to expect vectors to runway 26L and asked if the pilots wanted to go to

the west or north of the en route weather.




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       4.7    The aircraft continued to descend through 12,000 feet with a ground speed

of 290 knots and the pilots told air traffic control that they wanted to go west of the area of

precipitation. The controller responded that if the pilots wanted to proceed west that the

pilots would need to expeditiously descend to 3,000 feet.

       4.8    At 12:37 (CST) the controller instructed the pilots to turn to a heading of 270

degrees. The aircraft turned to 270 degrees and was descending through 8,500 feet.

       4.9    Shortly thereafter, the aircraft pitched nose down and over the next eighteen

seconds continued to pitch down to approximately 49 degrees.

       4.10   The aircraft reached an airspeed of 430 knots as it plummeted to the ground.

       4.11   The aircraft crashed into Trinity Bay, Texas. The aircraft broke apart and

there were no survivors.

       4.12   During this rapid dive, Sean Archuleta was thrown about and feared for his

life, suffering terror, fright, shock, multiple impacts and multiple injuries before the final

impact and death.

       4.13   As a direct and proximate result of the negligence of Defendants, Sean

Archuleta was killed and experienced, fright, terror, fear of his impending death, multiple

impacts to his body, multiple injuries, pain, and ultimately death. The Plaintiff makes the

following claims for damages.

                                    V. CAUSES OF ACTION

       A.        NEGLIGENCE

       5.1    The Plaintiff adopts and re-alleges all other paragraphs of this complaint as

though fully set forth herein, and further alleges:


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       5.2      The Defendants, as airline owner and operators, had and undertook the duty

of reasonable care under the circumstances, to provide reasonably safe transit for their

passengers, including Sean Archuleta. This included the duty to warn of any unreasonably

dangerous conditions; the duty to initiate reasonable policies and procedures with respect

to the operation of its aircraft in weather; and the duty to ensure that its pilots and other

personnel were well-informed, properly trained, and qualified with respect to operating the

subject airplane.

       5.3      The failure of Defendants to provide reasonable safety measures to protect

their passengers and operate and land the aircraft in a safe manner constitutes a breach of

its duty to those passengers, including Sean Archuleta.

       5.4      The Defendants, breached their duty, by and through its employees, agents,

and servants, and were negligent, in one or more of the following ways:

             a) Failing to maintain control of the aircraft;
             b) Failing to take appropriate precautions when encountering weather;
             c) Failing to avoid the steep descent of the aircraft;
             d) Failing to have competent and qualified pilots;
             e) Failing to adequately train its pilots;
             f) Failing to prevent the aircraft from a too steep descent;
             g) Failing to engage in effective Crew Resource Management;
             h) Failing to prevent the aircraft from impacting the ground; and
             i) Other acts of negligence and/or omissions to be shown at trial herein.
       5.5      As a direct and proximate result of the negligence of the Defendants, by and
through their employees, agents, and servants, Sean Archuleta experienced terror and fear



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of impending death, multiple impacts and injuries before death, and upon impact was
further and fatally injured, and sustained other damages, including but not limited to the
value to decedent of his life and the loss of enjoyment of his life.
       5.6    Plaintiff and decedent’s other next of kin and beneficiaries have sustained
the loss of support and pecuniary advantage, the loss of care, comfort, society, consortium,
paternal nurture and care, and suffered grief and loss of companionship, and were otherwise
damaged.

       B.     GROSS NEGLIGENCE

       5.7    The Plaintiff adopts and re-alleges all other paragraphs of this complaint as

though fully set forth herein, and further alleges:

       5.8    The Defendants’ acts and/or omissions rose to the level of gross negligence

and warrant the imposition of exemplary damages.

       5.9    The acts and omissions of these Defendants involved an extreme degree of

risk, considering the probability and magnitude of harm to others, and these Defendants

had actual, subjective awareness of the risks but proceeded with conscious indifference to

the rights, safety, and welfare of others.

                                      VI. DAMAGES

       6.1    As a direct and proximate result of the negligent and reckless conduct of

Defendants, Plaintiff has suffered the loss of her husband and been made to suffer and

sustain damages above the minimum jurisdictional requirements of this Court. The

Plaintiff’s husband suffered unspeakable fear, terror, and pain – then lost his life. Plaintiff

has sustained lost wages and future wage earning capacity of Decedent. The amount of



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monetary relief sought is within the sole discretion of the fact-finders who will consider

the evidence and decide what amount will compensate Plaintiff for Defendants’ acts and

omissions. Plaintiff seeks all damages contemplated for wrongful death and survival

actions.

       6.2   Defendants proximately caused injury and death to Decedent, which resulted

in the following damages, among others, to the estate of Decedent and/or Plaintiff:

             (a) Physical pain in the past;

             (b) Mental anguish in the past;

             (c) Disfigurement in the past;

             (d) Physical impairment in the past;

             (e) Medical expenses in the past;

             (f) Loss of earning capacity in the past and future;

             (g) Loss of consortium in the past; and

             (h) Exemplary and Punitive damages.

       6.3   Defendants proximately caused injury and death to Decedent, which resulted

in the following damages, among others, to the Plaintiff wife and minor children of

Decedent:

             (a) Loss of companionship and guidance in the past and future;

             (b) Mental anguish in the past and future;

             (c) Loss of earning capacity in the past and future;

             (d) Loss of consortium in the past and future;

             (e) Loss of household services in the past and future;


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              (f) Exemplary and Punitive damages.

       6.4    Defendants proximately caused injury and death to Decedent, which resulted

in the following damages, among others, to Plaintiff and other next of kin of Decedent:

              (a) Loss of companionship in the past and future;

              (b) Mental anguish in the past and future;

              (c) Loss of consortium in the past and future;

              (d) Exemplary and Punitive damages.
                                   VII. JURY DEMAND
       7.1    Plaintiff demands a trial by jury herein.
       WHEREFORE, the Plaintiff prays for judgment against the Defendants for:
compensatory damages; punitive damages; pecuniary and non-pecuniary damages;
attorney’s fees; costs of suit; and all other relief to which Plaintiff and all other next of kin
and beneficiaries may be justly entitled, in law or in equity.


                                                    Respectfully submitted,



                                                    /s/ Eric J. Rhine_____________
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